Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 1 of 17 PageID #:357
                           Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 1 of 17 PageID #:199
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 2 of 17 PageID #:358




                           Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 2 of 17 PageID #:200

                                                                              U.S. Department of Justice
                                                                              United States Marshals Service
                                                                              219 S. Dearborn St. Suite 1168
                                                                              Chicago, IL 60604




                           01/28/2025

                           Ref: 25cv457

                           Greetings,

                           Be advised that Attorney General Kwame Raoul, (3) State of Illinois agencies and (3) State
                           employees have been named as defendants in a civil suit filed in the Northern District of
                           Illinois. Enclosed is a complaint and summons for each entity. Thank you for your attention in
                           the matter.

                           Regards,

                           USMS




                                                                                                                    \
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 3 of 17 PageID #:359




                           Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 3 of 17 PageID #:201
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 4 of 17 PageID #:360




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 4 of 17 PageID #:202

                        AO 440 (Rev. 05/00) Summons in a Civil Action



                                                               UNITED STATES DISTRICT COURT
                                                                              NORTHERN DISTRICT OF ILLINOIS




                                                                                                     SUMMONS IN A CIVIL CASE
                        Kimberly Lopez


                                                                                           C ASE NUMBER:      1:25-cv-00457
                                                        V.                                 ASSIGNED JUDGE:
                                                                                                              John J. Tharp, Jr
                        Illinois Department of Healthcare and Family
                                                                                           D ESIGNATED
                        Services et al
                                                                                           MAGISTRATE JUDGE: young B. Kim



                                            TO: (Name and address of Defendant)
                               Kwame Raoul




                                  YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF' S ATTORNEY (name and address)

                                         Kimberly Lopez
                                         16036 84th Place
                                         Tinley Park, IL 60487
                                         708-983-3934
                                         Email: kslopez777@gmail.com


                                                                                                      21
                        an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ _ days after service ofthis
                        summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for
                        the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
                        period of time after service.




                                  OMAS G .. BRUTON; Qt ERK
                                                ,,_               -     - -
                                                 -- ~ ~ ];ii
                                   -- • . - ~t)
                              (By) DEPUTY CLERK                                                                 DATE
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 5 of 17 PageID #:361




                                     Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 5 of 17 PageID #:203



                                                                                RETURN OF SERVICE
                                                                                                     DATE
                                 Service of the Summons and complaint was made by me' 1J
                        NAME OF SERVER (PRINT)                                                       TITLE


                          Check one box below to indicate appropriate method of service

                                    Served personally upon the defendant. Place where served:




                                    Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
                                    discretion then residing therein .
                                    Name of person with whom the summons and complaint were left:

                                    Returned unexecuted:




                                    Other (specify):




                                                                            STATEMENT OF SERVICE FEES
                        TRAVEL                                         SERVICES                                            TOTAL



                                                                              DECLARATION OF SERVER

                                          I declare under penalty of perjury under the laws of the United States of America that the foregoing information
                                 contained in the Return of Service and Statement of Service Fees is true and correct.


                                 Executed on
                                                           Date                Signature of Server




                                                                                Address of Server
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 6 of 17 PageID #:362




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 6 of 17 PageID #:204

                        AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                UNITED STATES DISTRICT COURT
                                                                               NORTHERN DISTRICT OF lLLlNOIS




                                                                                                                  SUMMONS IN A CIVIL CASE
                        Kimberly Lopez


                                                                                                CASE NUMBER:             1:25-cv-00457
                                                        V.                                      ASSIGNED JUDGE:
                                                                                                                         John J. Tharp, Jr
                        Illinois Department of Healthcare and Fami ly
                                                                                                D ESIGNATED
                        Services et al
                                                                                                MAGISTRATE JUDGE : young B. Kim



                                            TO: (Name and address of Defendant)

                               Camille Lindsay




                                  YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                                         Kimberly Lopez
                                         16036 84th Place
                                         Tinley Park, IL 60487
                                         708-983-3934
                                         Emai l: kslopez777@gmail.com


                                                                                                       21
                        an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ days after service of this
                        summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
                        the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
                        period of time after service.




                                   · MAS G . .BRUTON·, ·ccERK '

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                              (By) DEPUTY CLERK                                                   V              ,\I"      DATE
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Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 7 of 17 PageID #:363




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 7 of 17 PageID #:205



                                                                                       RETURN OF SERVICE
                                                                                                             DATE
                                  Service of th e Summons and co mpl ai nt was made by me'' )

                        NAME OF SERVER {PRINT)                                                               T ITLE


                          Check one box below to indicate appropriate method of service

                                  D Served perso nall y up on th e defend ant. Place where served:




                                  D Left copi es th ereof at th e defend ant's dwe lling house or usual place of abode with a person o f suitable age and
                                    di screti on th en res iding th erei n.
                                     N ame of perso n w ith whom th e summ ons and co mpl aint we re le ft :

                                  D R eturn ed un exec uted:




                                  D Oth er (specify):




                                                                                  STATEMENT OF SERVICE FEES
                        TRAV EL                                              SERV ICES                                                  TOTAL



                                                                                     DECLARATION OF SERVER

                                            I d ecl are und er penalty o f p erjury und er th e laws of th e U nited States o f Ameri ca th at th e fo regoin g informati on
                                  co ntained in the Return o f Service and Statement o f Service Fees is tru e and correct.


                                  Executed on
                                                                                       Signature of Server




                                                                                       Address of Server
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 8 of 17 PageID #:364




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 8 of 17 PageID #:206

                        AO 440 (Rev. 05 /00) Summons in a Civil Action



                                                                UNITED STATES DISTRICT COURT
                                                                            NORTHERN DISTRICT OF ILLINOIS




                                                                                                    SUMMONS IN A CIVIL CASE
                        Kimberly Lopez


                                                                                         CASE NUMBER:       1:25-cv-00457
                                                         V.                              ASSIGNED JUDGE:
                                                                                                            John J. Tharp, Jr
                        Illinois Department of Healthcare and Family
                                                                                         D ESIGNATED
                        Services et al
                                                                                         MAGISTRATE JUDGE: young B. Kim



                                            TO: (Name and address of Defendant)
                               Heidi E. Mueller




                                  YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name an d address)
                                         Kimberly Lopez
                                         16036 84th Place
                                         Tinley Park, IL 60487
                                         708-983-3934
                                         Email: kslopez777@gmail.com


                                                                                                       21
                        an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ days after service of this
                        summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
                        the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
                        period of time after service.




                                  OMA'~G'~BRUTON, CLE


                                          :··   -'                           . -                              January 22, 2025

                              (By) DEPUTY CLE
                                                                                                              DATE
                                                                                          -·-- .-
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 9 of 17 PageID #:365




                                     Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 9 of 17 PageID #:207

                                                                                   n
                                                                                RETURN OF SERVICE
                                                                                                      DATE
                                 Service of the Summons and complaint was made by meCll

                        NAME OF SERVER (PRINT)                                                        TITLE


                          Check one box below to indicate appropriate method of service

                                 D Served personally upon the defendant. Place where served:




                                 D Left copies thereof at the defendant's dwelling house or usua l place of abode with a person of suitable age and
                                   discretion then residing therein.
                                    Name of person w ith whom the summons and complaint were left:

                                    Returned unexecuted:




                                 D Other (specify):




                                                                            STATEMENT OF SERVICE FEES
                        TRAVEL                                         SERVICES                                             TOTAL



                                                                              DECLARATION OF SERVER


                                          I declare und er penalty of perjury under the laws of the United States of America that the foregoing information
                                 contained in the Return of Service and Statement of Service Fees is true and correct.


                                 Executed on
                                                           Date                 Signature of Server




                                                                                Address of Server
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 10 of 17 PageID #:366




                                               Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 10 of 17 PageID #:208

                                  AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                          UNITED STATES DISTRICT COURT
                                                                                       NORTHERN DISTRICT OF lLLlNOJS




                                                                                                              SUMMONS IN A CIVIL CASE
                                  Kimberly Lopez


                                                                                                    CASE NUMBER:       1:25-cv-00457
                                                                  V.                                ASSIGNED JUDGE:
                                                                                                                       John J. Tharp, Jr
                                  Illinois Department of Healthcare and Family
                                                                                                    D ESIGNATED
                                  Services et al
                                                                                                    MAGISTRATE JUDGE: Young B. Kim



                                                      TO: (N ame and address of Defendant)
                                         Mario Treto




                                            YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (na me and address)

                                                   Kimberly Lopez
                                                   16036 84th Place
                                                   Tinley Park, IL 60487
                                                   708-983-3934
                                                   Email: kslopez777@gmail.com


                                                                                                                21
                                  an answer to the complajnt which is herewjth served upon you,       _ _ _ _ _ _ _ _ days after service oftrus
                       e-,-,---   summons upon you, exclusive ofthe day of service. If you fail to do-so, judgment by defaultwill be taken against you for
                                  the relief demanded in the complaint. You must also file your answer with the Clerk of trus Court within a reasonable
                                  period of time after service.




                                                                                                                         January 22, 2025


                                                                                                                         DATE
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 11 of 17 PageID #:367




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 11 of 17 PageID #:209



                                                                                          RETURN OF SERVICE
                                                                                                                 DATE
                                   Service of the Summons and complaint was made by me' 1J
                         NAM E OF SERVER (PRINT)                                                                 TITLE


                            Check one box below to indicate appropriate method of service

                                       Served personally upon the defendant. Place where served:




                                       Left copies thereof at the defendant ' s dwelling house or usual place of abode with a person of suitab le age and
                                       discretion then residing therein .
                                       Name of person with whom the su mm ons and comp laint were left:

                                       Returned unexecuted:




                                       Other (specify):




                                                                                     STATEMENT OF SERVICE FEES
                         TRAVEL                                                SERVICES                                          TOTAL



                                                                                        DECLARATION OF SERVER

                                            I declare under penalty of perjury under the laws of the United States of America that the foregoi ng information
                                   contained in the Return of Service an d Statement of Service Fees is true and correct.


                                   Executed on
                                                                                         Signature of Server




                                                                                         Address of Server




                         (1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 12 of 17 PageID #:368




                                      Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 12 of 17 PageID #:210

                         AO 440 (Rev. 05/00) Summons in a Civil Acti on



                                                                 UNITED STATES DISTRICT COURT
                                                                             NORTHERN DISTRICT OF lLLlNOIS




                                                                                                    SUMMONS IN A CIVIL CASE
                         Kimberly Lopez


                                                                                          CASE NUMBER:       1:25-cv-00457
                                                          V.                              ASSIGNED JUDGE:
                                                                                                             John J. Tharp, Jr
                         Illinois Department of Healthcare and Family
                                                                                          D ESIGNATED
                         Services et al
                                                                                          MAGISTRATE JUDGE: young B. Kim



                                             TO: (Name and address of Defendant)
                                Illinois Department of Children and Family Services




                                   YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (na me and address)

                                          Kimberly Lopez
                                          16036 84th Place
                                          Tinley Park, IL 60487
                                          708-983-3934
                                          Email: kslopez777@gmail.com


                                                                                                        21
                         an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ _ days after service of this
                         summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
                         the relief demanded in the complaint. You must also fi le your answer with the Clerk of this Court within a reasonable
                         period of time after service.




                                 HOMA:S-G.-BRUTON, CLE
                                --- --- --    ---    .. --

                                      .          ~--~ n•
                               (By) DEPUTY CLERK                                                               DATE
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 13 of 17 PageID #:369




                                     Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 13 of 17 PageID #:211



                                                                                  RETURN OF SERVICE
                                                                                                      DATE
                                   Service of the Summons and complaint was made by me<1>

                         NAME OF SERVER (PRINT)                                                       TITLE


                           Check one box below to indicate appropriate method of service

                                      Served personally upon the defend ant. Place where served:




                                      Left copies thereof at the defendant' s dwelling house or usual place of abode with a person of suitable age and
                                      discretion then residing therein.
                                      Name of person with whom the summons and complaint were left:

                                      Returned unexecuted:




                                      Other (specify):




                                                                              STATEMENT OF SERVICE FEES
                         TRAV EL                                         SERVICES                                             TOTAL



                                                                                 DECLARATION OF SERVER

                                            I declare under penalty of perjury under the laws of the United States of America that the foregoing information
                                   contained in the Return of Service and Statement of Service Fees is true and correct.


                                   Executed on
                                                                                  Signature of Server '




                                                                                  Address of Server
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 14 of 17 PageID #:370




                                          Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 14 of 17 PageID #:212

                             AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                     UNITED STATES DISTRICT COURT
                                                                                 NORTHERN DISTRICT OF ILLINOIS




                                                                                                        SUMMONS IN A CIVIL CASE
                             Kimberly Lopez


                                                                                              CASE NUMBER:       1:25-cv-00457
                                                             V.                               ASSIGNED JUDGE:
                                                                                                                 John J. Tharp, Jr
                             Illinois Department of Healthcare and Family
                                                                                              D ESIGNATED
                             Services et al
                                                                                              MAGISTRATE JUDGE: Young B. Kim



                                                 TO: (Name and address of Defendant)
                                    Illinois Department of Financial and Professional Regulation




                                       YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                                              Kimberly Lopez
                                              16036 84th Place
                                              Tinley Park, IL 60487
                                              708-983-3934
                                              Email: kslopez777@gmail.com


                                                                                                            21
                             an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ days after service ofthis
                             summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
                             the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
                             period of time after service.




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                                   (By) DEPUTY CLERK
                                                                                                                   DATE
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Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 15 of 17 PageID #:371




                                     Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 15 of 17 PageID #:213

                                                                                     n
                                                                                  RETURN OF SERVICE
                                                                                                       DAT E
                                  Service of the Summons and complaint was made by me11l

                         NAME OF SERVER {PRINT)                                                        TITLE


                           Check one box below to indicate appropriate method of service

                                  D Served personally upo n the defendant. Place where served:




                                  D Left copies thereof at the defendant 's dwelling house or usual place of abode with a perso n of suitable age and
                                    discretion then residing therein.
                                     Name of person with whom the summons and complaint were left:

                                  D Returned unexecuted:




                                  D Other (specify):




                                                                             STATEMENT OF SERVICE FEES
                         TRAVEL                                         SERVICES                                             TOTAL


                                                                                DECLARATION OF SERVER

                                           I declare under penalty of perjury under the law s of the United States of America that the foregoing information
                                  contained in the Return of Service an d Statement of Service Fees is true and correct.


                                  Executed on
                                                                                 Signature of Server




                                                                                 Address of Server
Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 16 of 17 PageID #:372




                                                           Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 16 of 17 PageID #:214

                                          AO 440 (Rev. 05/00) Summons in a Civil Action



                                                                                    UNITED STATES DISTRICT COURT
                                                                                                NORTHERN DISTRICT OF ILLINOIS




                                                                                                                          SUMMONS IN A CIVIL CASE
                                           Kimberly Lopez


                                                                                                             CASE NUMBER:        1:25-cv-00457
                                                                              V.                             ASSIGNED JUDGE:
                                                                                                                                 John J. Tharp, Jr
                                            Illinois Department of Healthcare and Family
                                                                                                             D ESIGNATED
                                            Services et al
                                                                                                             MAGISTRATE JUDGE: young B. Kim



                                                                TO: (Name and address of Defendant)
                                                       Illinois Department of Healthcare and Fam ily Services




                                                         YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

                                                             Kimberly Lopez
                                                             16036 84th Place
                                                             Tinley Park, IL 60487
                                                             708-983-3934
                                                             Email: kslopez777@gmail.com


                                                                                                                        21
                                          an answer to the complaint which is herewith served upon you,        _ _ _ _ _ _ _ _ _ days after service ofthis
                                          summons upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for
                                          the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
                                          period of time after service.




                                                   ~                     -~        ;;. 1M     • ~~,:A
                       .......~,....... _ .... -       ~ ~oleo      '·
                                                       (By) DEPUTY CLERK                                                           DATE
                                                                                                               .____---   .r

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Case: 1:25-cv-00457 Document #: 29-2 Filed: 04/15/25 Page 17 of 17 PageID #:373




                                    Case: 1:25-cv-00457 Document #: 18-1 Filed: 03/21/25 Page 17 of 17 PageID #:215


                                                                                 RETURN OF SERVICE
                                                                                                      DAT E
                                  Service of the Summons and complaint was made by me(I)

                         NAME OF SERVER (PRINT)                                                       TITLE


                           Check one box below to indicate appropriate method of service

                                     Served personally upon the defendant. Place where served:




                                     Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
                                     discretion then residing therein.
                                     Name of person with whom the summons and complaint were left:

                                     Returned unexecuted:




                                  D Other (specify):




                                                                             STATEMENT OF SERVICE FEES
                         TRAVEL                                        SERVICES                                             TOTAL



                                                                               DECLARATION OF SERVER

                                           I declare under penalty of perjury under the laws of the United States of America that the foregoing information
                                  contained in the Return of Service and Statement of Service Fees is true and correct.


                                  Executed on
                                                                                Signature of Server




                                                                                Address of Server
